                                                                                                       Case 1:03-md-01570-GBD-SN Document 8818-1 Filed 01/06/23 Page 1 of 6
Exhibit A to Ashton Motion to Substitute Parties




                                                                                                                                                                                                                                                                                                     9/11 DECEDENT'S SUFFIX
                                                                                                                                            SUBSTITUTE PLAINTIFF




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                   NAME                                                NAME                                         NAME                                                LAST NAME
                                                                                                                                                                                                                                                                                                                                  Death



                                                                                                            Leslie Werdann, as Personal
     1     Frank                                                Agnes                                       Representative of the Estate                           Agnes                                             Parent        1:02-cv-06977 David                          Agnes                                             NY
                                                                                                            of Frank

                                                                                                            Dianne M. Walsh and
                                                                                                            Jeanine Daly, as Personal
     2     John                                                 Barbuto                                                                                            Barbuto                                           Parent        1:02-cv-06977 Christine                      Barbuto                                           MA
                                                                                                            Representatives of the
                                                                                                            Estate of John

                                                                                                            Gary Berger, as Personal
     3     Phyllis                                              Berger                                      Representative of the Estate                           Berger                                            Parent        1:02-cv-06977 Steven          H.             Berger                                            NY
                                                                                                            of Phyllis
           Phyllis Berger, as Personal                                                                      Gary Berger, as Personal
     4     Representative of the Estate                         Berger                                      Representative of the Estate                           Berger                                            Parent        1:02-cv-06977 Steven          H.             Berger                                            NY
           of Joseph                                                                                        of Joseph


                                                                                                            Regina Biegeleisen, as
     5     Jacob                          S.                    Biegeleisen                                 Personal Representative of     S.                      Biegeleisen                                       Parent        1:02-cv-06977 Shimmy          D.             Biegeleisen                                       NY
                                                                                                            the Estate of Jacob



                                                                                                            Rebecca Taylor Wynne, as
     6     Richard                                              Blood                         Sr.           Personal Representative of                             Blood                          Sr.                Parent        1:02-cv-06977 Richard         M.             Blood          Jr.                                 NJ
                                                                                                            the Estate of Richard

                                                                                                            Tatum Vitale, as Personal
     7     Richard                        W.                    Brady                                       Representative of the Estate W.                        Brady                                            Sibling        1:02-cv-06977 David           B.             Brady                                             NY
                                                                                                            of Richard
                                                                                                            David Bruce, as Personal
     8     Diane                          Truman                Bruce                                       Representative of the Estate                           Bruce                                             Parent        1:02-cv-06977 Mark                           Bruce                                              NJ
                                                                                                            of Diane
                                                                                                            Caroline Otero, as Personal
     9     Ida                                                  Bruno                                       Representative of the Estate                           Bruno                                             Parent        1:02-cv-06977 Edward                         Calderon                                           NJ
                                                                                                            of Ida
                                                                                                            Timothy Burns, as Personal
    10     Charles                        Patrick               Burns                                       Representative of the Estate Patrick                   Burns                                            Sibling        1:02-cv-06977 Donald          J.             Burns                                             NY
                                                                                                            of Charles
                                                                                                            Michael F. Burns, as
    11     Julia                                                Burns                                       Personal Representative of                             Burns                                             Parent        1:02-cv-06977 Donald          J.             Burns                                             NY
                                                                                                            the Estate of Julia
           Martha Butler, as Personal                                                                       Margaret Butler, as Personal
    12     Representative of the Estate E.                      Butler                                      Representative of the Estate E.                        Butler                                            Parent        1:02-cv-06977 Thomas          M.             Butler                                            NY
           of William                                                                                       of William
                                                                                                            Mariza Calderon, as
    13     Vicente                                              Calderon                                    Personal Representative of                             Calderon                                          Parent        1:02-cv-06977 Edward                         Calderon                                           NJ
                                                                                                            the Estate of Vicente
                                                                                                            John R. Calia , as Personal
    14     Mildred                                              Calia                                       Representative of the Estate                           Calia                                             Parent        1:02-cv-06977 Dominick        E.             Calia                                              NJ
                                                                                                            of Mildred
                                                                                                       Case 1:03-md-01570-GBD-SN Document 8818-1 Filed 01/06/23 Page 2 of 6
Exhibit A to Ashton Motion to Substitute Parties




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                   NAME                                                NAME                                         NAME                                               LAST NAME
                                                                                                                                                                                                                                                                                                                           Death



                                                                                                            Rodney Callum, as Personal
    15     Chester                                              Callum                                      Representative of the Estate                          Callum                                            Parent        1:02-cv-06977 Michell         L.             Robotham                                     NJ
                                                                                                            of Chester
                                                                                                            Douglas Cruikshank, as
    16     Christina                                            Cruikshank                                  Personal Representative of                            Cruikshank                                        Child         1:02-cv-06977 Robert                         Cruikshank                                  NY
                                                                                                            the Estate of Christina
                                                                                                            Daniel Dean, as Personal
    17     Mark                                                 Dean                                        Representative of the Estate                          Dean                                             Sibling        1:02-cv-06977 William                        Dean                                        NY
                                                                                                            of Mark
           Carla DiAgostino, as                                                                             Frank DiAgostino, as
    18     Personal Representative of                           DiAgostino                                  Personal Representative of                            DiAgostino                                        Parent        1:02-cv-06977 Michael                        DiAgostino                                  NY
           the Estate of Carlo                                                                              the Estate of Carlo
                                                                                                            Grace Dietrich, as Personal
    19     Henry                          K.                    Dietrich                                    Representative of the Estate K.                       Dietrich                                          Parent        1:02-cv-06977 Susan           M.             Clyne                                       NY
                                                                                                            of Henry

                                                                                                            Katherine O'Neill Wilson,
                                                                                                            Mary Doyle O'Neill, and
    20     Rosaleen                                             Doyle O'Neill                               Brigid O'Neill Lamon, as                              Doyle O'Neill                                     Parent        1:02-cv-06977 Sean            C.             O'Neill                                     NY
                                                                                                            Personal Representatives of
                                                                                                            the Estate of Rosaleen

                                                                                                            Thomas Edwards, as
                                                                                                                                                                                                                                                                               Edwards
    21     Marilyn                                              Edwards                                     Personal Representative of                            Edwards                                           Parent        1:02-cv-06977 Mary            Lynn                                                        CA
                                                                                                                                                                                                                                                                               Angell
                                                                                                            the Estate of Marilyn
                                                                                                            Theresa McDonald, as
    22     Lorraine                                             Egan                                        Personal Representative of                            Egan                                             Sibling        1:02-cv-06977 James           A.             Trentini                                    MA
                                                                                                            the Estate of Lorraine

                                                                                                            Pamela Kellerman Fox, as
    23     Joyce                          L.                    Gales                                       Personal Representative of    L.                      Gales                                             Parent        1:02-cv-06977 Peter           R.             Kellerman                                   NY
                                                                                                            the Estate of Joyce

                                                                                                            Kelly Geraty, as Personal
    24     Sean                                                 Geraty                                      Representative of the Estate                          Geraty                                           Sibling        1:02-cv-06977 Suzanne                        Geraty                                      NY
                                                                                                            of Sean
                                                                                                            Steven Grillo, as Personal
    25     Joseph                                               Grillo                                      Representative of the Estate                          Grillo                                            Parent        1:02-cv-06977 Joseph                         Grillo                                      NY
                                                                                                            of Joseph
           Patricia Han, as Personal                                                                        Frank Han, as Personal
    26     Representative of the Estate                         Han                                         Representative of the Estate                          Han                                               Parent        1:02-cv-06977 Frederic        K.             Han                                          NJ
           of Kim                                                                                           of Kim
                                                                                                            Rodney Callum, as Personal
    27     Linda                                                Hanson Callum                               Representative of the Estate                          Hanson Callum                                     Parent        1:02-cv-06977 Michell         L.             Robotham                                     NJ
                                                                                                            of Linda
                                                                                                            Larry Hawk, as Personal
    28     Phyllis                                              Hawk                                        Representative of the Estate                          Hawk                                              Parent        1:02-cv-06977 Kathleen        A.             Nicosia                                     MA
                                                                                                            of Phyllis
                                                                                                            Ann Haynes, as Personal
    29     Elizabeth                      W.                    Haynes                                      Representative of the Estate W.                       Haynes                                            Child         1:02-cv-06977 William         W.             Haynes                                      NY
                                                                                                            of Elizabeth
                                                                                                      Case 1:03-md-01570-GBD-SN Document 8818-1 Filed 01/06/23 Page 3 of 6
Exhibit A to Ashton Motion to Substitute Parties




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                   NAME                                               NAME                                         NAME                                              LAST NAME
                                                                                                                                                                                                                                                                                                                        Death



                                                                                                           Donna Hickey, as Personal
    30     Dennis                                              Hickey                                      Representative of the Estate                         Hickey                                            Child         1:02-cv-06977 Brian                         Hickey                                      NY
                                                                                                           of Dennis
                                                                                                           Karen Greene, as Personal
    31     Collin                                              Hinds                                       Representative of the Estate                         Hinds                                             Parent        1:02-cv-06977 Neil                          Hinds                                       NY
                                                                                                           of Collin
                                                                                                           Claudia Jacobs, as Personal
    32     Melvin                                              Jacobs                                      Representative of the Estate                         Jacobs                                           Sibling        1:02-cv-06977 Ariel          L.             Jacobs                                      NY
                                                                                                           of Melvin
                                                                                                           Calliope Katsimatides, as
    33     Antonios                                            Katsimatides                                Personal Representative of                           Katsimatides                                      Parent        1:02-cv-06977 John                          Katsimatides                                NY
                                                                                                           the Estate of Antonios
                                                                                                           James Kelly, as Personal
    34     Suzanne                                             Kelly                                       Representative of the Estate                         Kelly                                             Parent        1:02-cv-06977 Thomas         R.             Kelly                                       NY
                                                                                                           of Suzanne
                                                                                                           Miriam Lafuente, as
    35     Jorge                        M.                     Lafuente                                    Personal Representative of M.                        Lafuente                                         Sibling        1:02-cv-06977 Juan                          Lafuente                                    NY
                                                                                                           the Estate of Jorge
                                                                                                           Josephine Laieta, as
    36     Vincent                      A.                     Laieta                                      Personal Representative of A.                        Laieta                                            Parent        1:02-cv-06977 Vincent                       Laieta                                       NJ
                                                                                                           the Estate of Vincent
                                                                                                           James Lang and Donna
                                                                                                           Caballero, as Personal
    37     Rose                                                Lang                                                                                             Lang                                              Parent        1:02-cv-06977 Rosanne                       Lang                                        NY
                                                                                                           Representative of the Estate
                                                                                                           of Rose
                                                                                                           James Lang and Donna
                                                                                                           Caballero, as Personal
    38     William                                             Lang                                                                                             Lang                                              Parent        1:02-cv-06977 Rosanne                       Lang                                        NY
                                                                                                           Representative of the Estate
                                                                                                           of William
                                                                                                           Carolyn LeBlance, as
    39     Paul                                                LeBlanc                                     Personal Representative of                           LeBlanc                                           Child         1:02-cv-06977 Robert                        LeBlanc                                     NH
                                                                                                           the Estate of Paul
                                                                                                           Cynthia Lewis, as Personal
    40     Steve                                               Lewis                                       Representative of the Estate                         Lewis                                            Sibling        1:02-cv-06977 Sherry         Ann            Bordeaux                                     NJ
                                                                                                           of Steve
                                                                                                           David Lapin, as Personal
    41     Joan                                                Lopatin                                     Representative of the Estate                         Lopatin                                           Parent        1:02-cv-06977 Ruth                          Lapin                                        NJ
                                                                                                           of Joan
                                                                                                           Lucille Keefe, as Personal
    42     Mary                         M.                     Luciano                                     Representative of the Estate M.                      Luciano                                          Sibling        1:02-cv-06977 James          A.             Trentini                                    MA
                                                                                                           of Mary
                                                                                                           Andrea Maffeo, as Personal
    43     Sam                                                 Maffeo                                      Representative of the Estate                         Maffeo                                            Parent        1:02-cv-06977 Jennieann                     Maffeo                                      NY
                                                                                                           of Sam
                                                                                                           Kyle Danatos, as Personal
    44     Cathleen                                            Martineau                                   Representative of the Estate                         Martineau                                        Sibling        1:02-cv-06977 Brian          E.             Martineau                                    NJ
                                                                                                           of Cathleen
                                                                                                         Case 1:03-md-01570-GBD-SN Document 8818-1 Filed 01/06/23 Page 4 of 6
Exhibit A to Ashton Motion to Substitute Parties




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                   NAME                                                  NAME                                         NAME                                              LAST NAME
                                                                                                                                                                                                                                                                                                                                  Death



                                                                                                              Juan Martinez, Sr., as
    45     Reinaldo                                               Martinez                                    Personal Representative of                           Martinez                                         Sibling        1:02-cv-06977 Waleska                        Martinez                                           NJ
                                                                                                              the Estate of Reinaldo
                                                                                                              Erin McGinty James, as
    46     Sandra                                                 McGinty                                     Personal Representative of                           McGinty                                           Parent        1:02-cv-06977 Michael                        McGinty                                           MA
                                                                                                              the Estate of Sandra
                                                                                                              Dallas McKinney, as
    47     Darryl                       S.                        McKinney                                    Personal Representative of S.                        McKinney                                          Parent        1:02-cv-06977 Darryl          L.             Mckinney                                          NY
                                                                                                              the Estate of Darryl
                                                                                                              George McLaughlin, as
    48     Dorothy                                                McLaughlin                                  Personal Representative of                           McLaughlin                                        Parent        1:02-cv-06977 George          P.             McLaughlin     Jr.                                 NJ
                                                                                                              the Estate of Dorothy
                                                                                                              Mary Mercado, as Personal
    49     Louis                                                  Mercado                       Sr.           Representative of the Estate                         Mercado                        Sr.                Parent        1:02-cv-06977 Steve                          Mercado                                           NY
                                                                                                              of Louis
                                                                                                              Mary Mercado, as Personal
    50     Louis                                                  Mercado                       Jr.           Representative of the Estate                         Mercado                        Jr.               Sibling        1:02-cv-06977 Steve                          Mercado                                           NY
                                                                                                              of Louis
           Mary Lou Miller, as                                                                                Scott Miller, as Personal
    51     Personal Representative of                             Miller                                      Representative of the Estate                         Miller                                           Sibling        1:02-cv-06977 Robert          Alan           Miller                                            NY
           the Estate of Steven                                                                               of Steven
                                                                                                              Keri Murphy, as Personal
    52     Thomas                       J.                        Murphy                                      Representative of the Estate J.                      Murphy                                           Sibling        1:02-cv-06977 Patrick         S.             Murphy                                             NJ
                                                                                                              of Thomas
                                                                                                              Tawania Loyd, as Personal
    53     Franklin                                               Murray                                      Representative of the Estate                         Murray                                           Sibling        1:02-cv-06977 Harry                          Glenn                                              NJ
                                                                                                              of Franklin
                                                                                                              Scott Darren Naiman, as
    54     William                                                Naiman                                      Personal Representative of                           Naiman                                            Child         1:02-cv-06977 Mildred         R.             Naiman                                            MA
                                                                                                              the Estate of William
                                                                                                              William and Michael
                                                                                                              Novonty, as Personal
    55     John                         B.                        Novotny                                                                  B.                      Novotny                                          Sibling        1:02-cv-06977 Brian           C.             Novotny                                            NJ
                                                                                                              Representative of the Estate
                                                                                                              of John
                                                                                                              Harry Ong, Jr., as Personal
    56     Harry                                                  Ong                           Sr.           Representative of the Estate                         Ong                            Sr.                Parent        1:02-cv-06977 Betty           Ann            Ong                                                CA
                                                                                                              of Harry
                                                                                                              Mary Lou Curran, as
    57     Ada                                                    Pascuma                                     Personal Representative of                           Pascuma                                           Parent        1:02-cv-06977 Michael         J.             Pascuma        Jr.                                NY
                                                                                                              the Estate of Ada
                                                                                                              Mary Lou Curran, as
    58     Michael                                                Pascuma                                     Personal Representative of                           Pascuma                                           Parent        1:02-cv-06977 Michael         J.             Pascuma        Jr.                                NY
                                                                                                              the Estate of Michael
                                                                                                              Sean Passananti, as
    59     Marie                                                  Passananti                                  Personal Representative of                           Passananti                                        Parent        1:02-cv-06977 Horace                         Passananti                                        NY
                                                                                                              the Estate of Marie
                                                                                                              Irene Durbin, as Personal
    60     Anthony                      F.                        Passaro                                     Representative of the Estate F.                      Passaro                                           Parent        1:02-cv-06977 Suzanne         H.             Passaro                                            NJ
                                                                                                              of Anthony
                                                                                                      Case 1:03-md-01570-GBD-SN Document 8818-1 Filed 01/06/23 Page 5 of 6
Exhibit A to Ashton Motion to Substitute Parties




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                   NAME                                               NAME                                         NAME                                               LAST NAME
                                                                                                                                                                                                                                                                                                                                Death



                                                                                                           Kristina DeJong, as
    61     Marcel                                              Pelletier                                   Personal Representative of                            Pelletier                                         Parent        1:02-cv-06977 Michel                         Pelletier                                          CT
                                                                                                           the estate of Marcel
                                                                                                           Helen Pfeifer, as Personal
    62     William                                             Pfeifer                                     Representative of the Estate                          Pfeifer                                           Parent        1:02-cv-06977 Kevin                          Pfeifer                                           NY
                                                                                                           of William
                                                                                                           Linda Pickford, as Personal
    63     Thomas                                              Pickford                                    Representative of the Estate                          Pickford                                          Parent        1:02-cv-06977 Christopher                    Pickford                                          NY
                                                                                                           of Thomas
                                                                                                           Martin Rambousek, as
    64     Jindra                                              Rambousek                                   Personal Representative of                            Rambousek                                         Parent        1:02-cv-06977 Lukas                          Rambousek                                         NY
                                                                                                           the Estate of Jindra
                                                                                                           Susan Bauer, as Personal
    65     Michael                      John                   Rasweiler                                   Representative of the Estate John                     Rasweiler                                         Child         1:02-cv-06977 Roger           Mark           Rasweiler                                          NJ
                                                                                                           of Michael
                                                                                                           Isabel Reyes, as Personal
    66     Clementina                                          Reyes                                       Representative of the Estate                          Reyes                                             Parent        1:02-cv-06977 Eduvigis                       Reyes          Jr.                                NY
                                                                                                           of Clementina
                                                                                                           Sheila Ornstein, as Personal
    67     Barbara                                             Rosenblum                                   Representative of the Estate                          Rosenblum                                         Parent        1:02-cv-06977 Andrew          I.             Rosenblum                                         NY
                                                                                                           of Barbara
           Barbara Rosenblum, as                                                                           Sheila Ornstein, as Personal
    68     Personal Representative of                          Rosenblum                                   Representative of the Estate                          Rosenblum                                         Parent        1:02-cv-06977 Andrew          I.             Rosenblum                                         NY
           the Estate of Jason                                                                             of Jason
                                                                                                           Robert Ryan, as Personal
    69     Patricia                                            Ryan                                        Representative of the Estate                          Ryan                                              Parent        1:02-cv-06977 Edward                         Ryan                                              NY
                                                                                                           of Patricia
                                                                                                           Janice Hart, as Personal
    70     Mark                                                Schreier                                    Representative of the Estate                          Schreier                                          Parent        1:02-cv-06977 Jeffrey                        Schreier                                          NY
                                                                                                           of Mark
                                                                                                           Janice Hart, as Personal
    71     Stephanie                                           Schreier                                    Representative of the Estate                          Schreier                                          Parent        1:02-cv-06977 Jeffrey                        Schreier                                          NY
                                                                                                           of Stephanie
                                                                                                           Evelyn Sekzer, as Personal
    72     Wilton                                              Sekzer                                      Representative of the Estate                          Sekzer                                            Parent        1:02-cv-06977 Jason           M.             Sekzer                                            NY
                                                                                                           of Wilton


                                                                                                           Nancy Picone, as Personal
    73     Tommaso                                             Sereno                                      Representative of the Estate                          Sereno                                            Parent        1:02-cv-06977 Arturo                         Sereno                                            NY
                                                                                                           of Tommaso


                                                                                                           Barbara Sohan, as Personal
    74     Clive                                               Sohan                                       Representative of the Estate                          Sohan                                             Parent        1:02-cv-06977 Astrid                         Sohan                                              NJ
                                                                                                           of Clive
                                                                                                           Joseph Callahan, as
    75     Anne                                                Sullivan                                    Personal Representative of                            Sullivan                                          Parent        1:02-cv-06977 Joseph          P.             Kellett                                           NY
                                                                                                           the Estate of Anne
                                                                                                       Case 1:03-md-01570-GBD-SN Document 8818-1 Filed 01/06/23 Page 6 of 6
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                                                                                                                                                                                          REPRESENTATIVE)
                                              MIDDLE NAME




                                                                                                                                              MIDDLE NAME
                                                                                                                                                                                                                                                                                                                              State of
             PREVIOUS PLAINTIFF                                  PREVIOUS PLAINTIFF                          SUBSTITUTE PLAINTIFF                                SUBSTITUTE PLAINTIFF




                                                (ESTATE




                                                                                            (ESTATE




                                                                                                                                                (ESTATE




                                                                                                                                                                                              (ESTATE
                                                                                                                                                                                                                                                                                   9/11                                     Residency of




                                                                                             SUFFIX




                                                                                                                                                                                               SUFFIX
           (INDIVIDUAL OR ESTATE                                      (ESTATE                                      (ESTATE                                             (ESTATE                                 Relationship to      CASE        9/11 DECEDENT'S 9/11 DECEDENT'S
     #                                                                                                                                                                                                                                                                          DECEDENT'S                                      9/11
           REPRESENTATIVE) FIRST                                REPRESENTATIVE) LAST                        REPRESENTATIVE) FIRST                                  REPRESENTATIVE)                              9/11 Decedent      NUMBER          FIRST NAME    MIDDLE NAME
                                                                                                                                                                                                                                                                                LAST NAME                                  DECEDENT at
                   NAME                                                NAME                                         NAME                                              LAST NAME
                                                                                                                                                                                                                                                                                                                               Death



                                                                                                            Eileen Tallon, as Personal
    76     Patrick                                              Tallon                                      Representative of the Estate                         Tallon                                            Parent        1:02-cv-06977 Sean            Patrick        Tallon                                           NY
                                                                                                            of Patrick
                                                                                                            Joseph Tiesi, as Personal
    77     Ellen                                                Tiesi                                       Representative of the Estate                         Tiesi                                             Parent        1:02-cv-06977 Mary            E.             Tiesi                                             NJ
                                                                                                            of Ellen
                                                                                                            Matthew Trant, as Personal
    78     Mary                           C.                    Trant                                       Representative of the Estate C.                      Trant                                             Parent        1:02-cv-06977 Daniel                         Trant                                            NY
                                                                                                            of Mary
                                                                                                            Fred Searby, as Personal
    79     Diane                                                Tumulty-Searby                              Representative of the Estate                         Tumulty-Searby                                    Parent        1:02-cv-06977 Lance                          Tumulty                                           NJ
                                                                                                            of Diane



                                                                                                            Marianne Twomey, as
    80     John                                                 Twomey                                      Personal Representative of                           Twomey                                           Sibling        1:02-cv-06977 Robert          T.             Twomey                                           NY
                                                                                                            the Estate of John



                                                                                                            Theresa Twomey, as
    81     Richard                                              Twomey                                      Personal Representative of                           Twomey                                           Sibling        1:02-cv-06977 Robert          T.             Twomey                                           NY
                                                                                                            the Estate of Richard
                                                                                                            Denis Twomey, as Personal
    82     William                                              Twomey                                      Representative of the Estate                         Twomey                                           Sibling        1:02-cv-06977 Robert          T.             Twomey                                            Ny
                                                                                                            of William
                                                                                                            Carlton Valvo, as Personal
    83     Nicoletta                      Bernadette            Valvo                                       Representative of the Estate Bernadette              Valvo                                             Parent        1:02-cv-06977 Carlton         F.             Valvo          II                                NY
                                                                                                            of Nicoletta

                                                                                                            Tracy and Tonya Wiswall,
    84     Robert                                               Wiswall                                     as Personal Representative                           Wiswall                                          Sibling        1:02-cv-06977 David                          Wiswall                                          NY
                                                                                                            of the Estate of Robert

                                                                                                            Raymond Wodenshek, as
    85     Florence                                             Wodenshek                                   Personal Representative of                           Wodenshek                                         Parent        1:02-cv-06977 Christopher                    Wodenshek                                         NJ
                                                                                                            the Estate of Florence

                                                                                                            Zhanna Galperina, as
    86     Alexander                                            Zaltsman                                    Personal Representative of                           Zaltsman                                          Parent        1:02-cv-06977 Arkady                         Zaltsman                                         NY
                                                                                                            the Estate of Alexander

                                                                                                            Zhanna Galperina, as
    87     Faina                                                Zaltsman                                    Personal Representative of                           Zaltsman                                          Parent        1:02-cv-06977 Arkady                         Zaltsman                                         NY
                                                                                                            the Estate of Faina
                                                                                                            Barbara Zion Green, as
    88     Jane                                                 Zion                                        Personal Representative of                           Zion                                              Parent        1:02-cv-06977 Charles         A.             Zion                                              CT
                                                                                                            the Estate of Jane
           Jane, as Personal                                                                                Barbara Zion Green, as
    89     Representative of the Estate                         Zion                                        Personal Representative of                           Zion                                              Parent        1:02-cv-06977 Charles         A.             Zion                                              CT
           of Martin                                                                                        the Estate of Martin
